
USCA1 Opinion

	





          March 6, 1995         [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 94-1966                                               MIGUELINA BOYD,                                Plaintiff, Appellant,                                          v.                       SECRETARY OF HEALTH AND HUMAN SERVICES,                                 Defendant, Appellee.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jose Antonio Fuste, U.S. District Judge]
                                              ___________________                                 ___________________                                        Before                               Torruella, Chief Judge,
                                          ___________                          Boudin and Stahl, Circuit Judges.
                                            ______________                                 ___________________               Paul Ramos Morales on brief for appellant.
               __________________               Guillermo Gil, United States Attorney, Maria Hortensia Rios,
               _____________                          ____________________          Assistant United States Attorney,  and Jessie M. Klyce, Assistant
                                                 _______________          Regional  Counsel,  Region  I,  Department of  Health  and  Human          Services, on brief for appellee.                                  __________________                                  __________________



                      Per  Curiam.   This  is an  appeal from  a district
                      ___________            court  judgment  affirming a  decision  of  the Secretary  of            Health  and Human  Services denying  appellant's applications            for  social security disability benefits and disabled widow's            benefits.   After  a  hearing, the  Administrative Law  Judge            ("ALJ") found that appellant retained the functional capacity            to return to her past relevant work as a hairdresser and thus            was not entitled to  receive disability insurance benefits on            her  own account nor on  the account of  her deceased spouse.            Upon a careful review  of the transcript, record  and briefs,            we agree with  the district court that there  was substantial            evidence  to support the ALJ's thorough decision.  We find no            basis  for appellant's  contentions  that the  ALJ failed  to            adequately  explore  and  assess  appellant's  complaints  of            subjective pain and evidence of mental impairment.                        Affirmed.
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